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      Trump wants the TikTok deal to pour $5
 billion into 'real history' education. It's not
 that simple
 By Alexis Benveniste and Jill Disis, CNN Business

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 New York / Hong Kong (CNN Business) — President Donald Trump is adamant that a tentative deal involving
 short-form video app TikTok will include a $5 billion fund to "educate people" about the "real history of
 our country."

 That appears to have taken TikTok's Chinese parent company ByteDance by surprise, and created
 even more confusion about how the finer points of an already complicated deal will work in practice.

 Trump mentioned the fund at a rally in North Carolina on Saturday, as he signaled his approval of a deal
 between ByteDance, Oracle (ORCL) and Walmart (WMT).

 The deal — which would temporarily avert a ban on TikTok in US app stores — would see Walmart and
 Oracle take a stake of up to 20% in a newly created US-based entity, TikTok Global. Beijing-based
 ByteDance says it will retain 80%.

                                                       As part of the deal, Trump said he asked the
                                                       companies to "do me a favor" by putting "$5 billion
                                                       into a fund for education, so we can educate
                                                       people as to [the] real history of our country — the
                                                       real history, not the fake history."



                                                       ByteDance unaware
                                                       This isn't the first time Trump has floated the idea
                                                       that a TikTok deal should include some kind of
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                                                       monetary reward for the US government. He
   with TikTok? Here's the latest                      previously expressed a desire for the companies
                                                       involved with the deal to give money to the US
                                                       Treasury, but last week said he was surprised
                                                       when he was told such an arrangement would be
 illegal.

 Trump's latest remarks have done little to clarify how an education fund would work, creating even
 more confusion.

                                                       It's not just observers who are scratching their
                                                       heads. ByteDance said Sunday that it was




https://www.cnn.com/2020/09/20/business/trump-education-fund/index.html                            9/22/2020
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                                                        unaware that a multibillion dollar education fund
                                                                                         LIVE TV


                                                        "Some news media reported that TikTok will set up
                                                        a $5 billion education fund in the United States,"
                                                        ByteDance said in a statement posted Sunday on
                                                        Chinese social media. "We would like to clarify that
                                                        it was also our first time hearing about the news."
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                                                        The company added that it "has been committed
   TikTok? Here's the latest                            to investing in the education field, and plans to
                                                        work with partners and global shareholders to
                                                        launch online classroom projects based on AI
                                                        [artificial intelligence] and video technology for
 students around the world."

 A slew of other statements released by ByteDance, Oracle and Walmart over the past couple of days
 could shed some light on what Trump might have in mind.

 While Walmart and Oracle did not mention anything about an education fund in a statement released
 over the weekend, like ByteDance, they mentioned an "AI-driven" initiative for students. And they did
 say that the new TikTok Global entity "will pay more than 5 billion in new tax dollars to the US Treasury."

 In a statement Monday, ByteDance described the "so-called tax payment" as "an estimation of the
 corporate income tax and other operating taxes that TikTok will need to pay for its business
 development in the next few years."



 Trump's education agenda
 There is another possible explanation for Trump's remarks: The president appears to be trying to get
 some extra mileage out of the proposed TikTok deal by tying it together with his attacks on what he has
 called "the liberal indoctrination of America's youth." For weeks, he has been waging battles on
 interpretations of history that he claims are un-American, including The New York Times' 1619 Project.

 In a Constitution Day speech last week, Trump called the Pulitzer Prize-winning 1619 Project "toxic
 propaganda." The project reframes American history around the year when the first slave ship arrived
 on the country's shores.

 Trump also tweeted earlier this month that the Department of Education was looking into reports that
 California schools would teach the project in schools, adding that "If so, they will not be funded!" (It's not
 really clear how widespread this phenomenon is. Some schools have said they will adopt the 1619
 Project into their lessons, but how many isn't known.)

 — Brian Fung and Sherisse Pham contributed to this report.




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